Case 9:19-cv-81160-RS Document 8 Entered on FLSD Docket 08/26/2019 Page 1 of 5



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      CASE NO. 9:19-cv-81160-RS

  APPLE INC.,
         Plaintiff,                                    MOTION TO APPEAR PRO HAC VICE,
  v.                                                    CONSENT TO DESIGNATION, AND
                                                        REQUEST TO ELECTRONICALLY
  CORELLIUM, LLC,                                           RECEIVE NOTICES OF
                                                            ELECTRONIC FILING
         Defendant.




        In accordance with Local Rules 4(b) of the Rules Governing the Admission, Practice, Peer

 Review, and Discipline of Attorneys of the United States District Court for the Southern District

 of Florida, the undersigned respectfully moves for the admission pro hac vice of Jessica Stebbins

 Bina of the law firm of Latham & Watkins LLP, 10250 Constellation Blvd. Suite 1100, Los

 Angeles, CA 90067, (424) 653-5500, for purposes of appearance as co-counsel on behalf of Apple

 Inc., in the above-styled case only, and pursuant to Rule 2B of the CM/ECF Administrative

 Procedures, to permit Jessica Stebbins Bina, Esq. to receive electronic filings in this case, and in

 support thereof states as follows:

        1.      Jessica Stebbins Bina, Esq. is not admitted to practice in the Southern District of

 Florida and is a member in good standing of the State Bar of California; the United States District

 Courts for the Central and Northern Districts of California; and the United States Court of Appeals

 for the Ninth Circuit.

        2.      Movant, Martin B. Goldberg, of the law firm of Lash & Goldberg LLP, 2500

 Weston Road, Suite 220, Weston, Florida 33331, (305) 347-4040, is a member in good standing

 of The Florida Bar and the United States District Court for the Southern District of Florida and is

 authorized to file through the Court’s electronic filing system. Mr. Goldberg consents to be
Case 9:19-cv-81160-RS Document 8 Entered on FLSD Docket 08/26/2019 Page 2 of 5



 designated as a member of the Bar of this Court with whom the Court and opposing counsel may

 readily communicate regarding the conduct of the case, upon whom filings shall be served, who

 shall be required to electronically file and serve all documents and things that may be filed and

 served electronically, and who shall be responsible for filing and serving documents in compliance

 with the CM/ECF Administrative Procedures. See Section 2B of the CM/ECF Administrative

 Procedures.

        3.      In accordance with the local rules of this Court, Jessica Stebbins Bina’s required

 payment of this Court’s $75 admission fee will be made electronically with the filing of this

 Motion. A certification in accordance with Rule 4(b) is attached hereto.

        4.      Jessica Stebbins Bina, by and through designated counsel and pursuant to Section

 2B of the CM/ECF Administrative Procedures, hereby requests the Court to provide Notice of

 Electronic Filings to Jessica Stebbins Bina at email address: Jessica.stebbinsbina@lw.com.

        WHEREFORE, Martin B. Goldberg moves this Court to enter an Order permitting Jessica

 Stebbins Bina to appear before this Court on behalf of Apple Inc. for all purposes relating to the

 proceedings in the above-styled matter and directing the Clerk to provide notice of electronic

 filings to Jessica Stebbins Bina.
Case 9:19-cv-81160-RS Document 8 Entered on FLSD Docket 08/26/2019 Page 3 of 5



 Dated: August 26, 2019

                                       LASH & GOLDBERG LLP

                                    By: s/ Martin B. Goldberg
                                       Martin B. Goldberg
                                       Florida Bar No. 0827029
                                       mgoldberg@lashgoldberg.com
                                       rdiaz@lashgoldberg.com

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                                       Counsel for Plaintiff Apple, Inc.
Case 9:19-cv-81160-RS Document 8 Entered on FLSD Docket 08/26/2019 Page 4 of 5
Case 9:19-cv-81160-RS Document 8 Entered on FLSD Docket 08/26/2019 Page 5 of 5



                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 26, 2019, a true and correct copy of the foregoing

 Motion to Appear Pro Hac Vice, Consent to Designation and Request to Electronically Receive

 Notices of Electronic Filings was served electronically through the CM/ECF system, which will

 cause the following parties or counsel to be served.

                                                        /s/ Martin B. Goldberg
                                                            Martin B. Goldberg
